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Attorneys for the Defendants


                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


    W. CLARK APOSHIAN,
                                                  Case No. 2:19-cv-00037-JNP
          Plaintiff,

          vs.                                     NOTICE OF SUPPLEMENTAL
                                                  AUTHORITY
    WILLIAM P. BARR, Attorney General of
    the United States, 1 et al.,
                                                  District Judge Jill N. Parrish
          Defendants.



        Pursuant to DUCivR 7-1(b)(4), Defendants hereby provide notice of the February 26,

2019 opinion of the United States District Court for the District of Columbia denying motions



1
  By operation of Fed. R. Civ. P. 25(d), Attorney General Barr has automatically been substituted
for former Acting Attorney General Matthew G. Whitaker as a Defendant in this action.
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for preliminary injunction in three pending cases: Guedes v. ATF, No. 18-cv-2988, Firearms

Policy Coalition v. Barr, No. 18-cv-3083 (consolidated with Guedes), and Codrea v. Barr, 18-

cv-3086. That opinion, docketed as ECF No. 27 on the Guedes docket, pertains to the issues

discussed in this action at, inter alia, pages 10-17 and 21-23 of Defendants’ Memorandum in

Opposition to Motion for Preliminary Injunction, ECF No. 25 (Feb. 6, 2019). Defendants

believe that the Court in Guedes reached the correct outcome. However, consistent with the

position set forth in their briefing, Defendants note that any decision by this Court should take

into account the principle that “in contexts[] such as the interpretation of criminal statutes . . .

agencies are not ordinarily entitled to deference.” ECF No. 25 at 21 (citing U.S. v. Apel, 571

U.S. 359, 369 (2014)).



        DATED this 26th day of February 2019.           Respectfully submitted,

                                                        JOHN W. HUBER
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                                                        /s/ Eric J. Soskin
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